Case 2:23-cv-00936-AMA-CMR            Document 96-1       Filed 01/22/25      PageID.813      Page 1
                                             of 3




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  and Millcreek Commercial Properties, LLC

                         IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


   KATE GRANT and KARMANN KASTEN,                       [PROPOSED] ORDER GRANTING
   LLC,                                                   MOTION TO WITHDRAW AS
                                                          COUNSEL FOR DEFENDANT
                  Plaintiffs,                             MILLCREEK COMMERCIAL
   vs.                                                        PROPERTIES, LLC
   KEVIN LONG; MILLCREEK
   COMMERCIAL PROPERTIES, LLC;
                                                         Case No: 2:23-cv-00936-AMA-CMR
   COLLIERS INTERNATIONAL; BRENT
   SMITH; SPENCER TAYLOR; BLAKE
                                                            Judge Ann Marie McIff Allen
   MCDOUGAL; and MARY STREET,

                 Defendants.                             Magistrate Judge Cecilia M. Romero


         Pursuant to the Motion to Withdraw as Counsel for Defendant Millcreek Commercial

  Properties, LLC filed by Terry E. Welch, Bentley J. Tolk, and Rodger M. Burge (collectively,

  “Counsel”), and the law firm of Parr Brown Gee & Loveless, P.C., and pursuant to DUCIVR 83-

  1.4, the Court ORDERS that Counsel may each withdraw, and are each hereby removed, solely as

  counsel for Defendant Millcreek Commercial Properties, LLC (“Client”) in this case.

         With regard to Client’s continued representation in this case, the Court ORDERS as

  follows: For entity parties (like Client): New counsel shall file a Notice of Appearance on behalf
Case 2:23-cv-00936-AMA-CMR              Document 96-1         Filed 01/22/25      PageID.814        Page 2
                                               of 3




  of any corporation, association, partnership or other artificial entity whose attorney has withdrawn.

  Pursuant to DUCivR 83-1.3, no such entity may appear pro se, but must be represented by an

  attorney who is admitted to practice in this court.

           A party who fails to file a Notice of Appearance as set forth above, may be subject to

  sanction pursuant to Federal Rule of Civil Procedure 16(f)(1), including but not limited to

  dismissal or default judgment.

             With regard to scheduling, the Court orders as follows:

  _____      All litigation dates pursuant to the controlling scheduling order remain in effect.

  _____      A scheduling conference is scheduled for ___________________, ____ at _____ __.m.

  _____      The action shall be stayed until twenty-one (21) days after entry of this order.


                                         NOTICE TO PARTY

             The Court will cause this Order to be sent to Client at the address set forth in the

  Motion to Withdraw as Counsel for Defendant Millcreek Commercial Properties, LLC and to all

  other parties.



             DATED this __ day of January, 2025.


                                                  BY THE COURT:


                                                  Cecilia M. Romero
                                                  United States Magistrate Judge




  4920-2165-5568                                     2
Case 2:23-cv-00936-AMA-CMR           Document 96-1       Filed 01/22/25    PageID.815      Page 3
                                            of 3




                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 22nd day of January, 2025, I caused to be served a true

  and correct copy of the foregoing [PROPOSED] ORDER GRANTING MOTION TO

  WITHDRAW AS COUNSEL FOR DEFENDANT MILLCREEK COMMERCIAL

  PROPERTIES, LLC via the CM/ECF system, which automatically provided notice to all counsel

  of record.


                                                                    /s/ Bentley J. Tolk




  4920-2165-5568                                 3
